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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

  UNITED STATES OF AMERICA                          )
                                                    )     Case No.     ,~ZJ.\~Z.
     v.                                             )
                                                    )     SEALED INDICTMENT
 JOSEPH RICHARD WALKER,                             )
 also known as "Joe," and                           )     In violation of:
                                                    )     21 u.s.c. § 841
  GARRETT ISAAC WILLIAMS,                           )     21 u.s.c. § 846
  also known as "Gary," "Taz," and                  )     18 u.s.c. § 1951
  "Tez,"                                            )     18 u.s.c. § 924
                                                    )     18 u.s.c. § 922
          Defendants.                               )     18 u.s.c. § 844


                                           COUNT ONE
          (Conspiracy to D istribute and Possess with the Intent to D istribute Marijuana)

          1. From on or about January 2023, to on or about April 17, 2023, in the Western

D istrict of Virginia, the defendants, JOSEPH RICHARD WALKER and GARRETT

ISAAC WILLIAMS, and others known and unknown to the Grand J ury, did knowingly and

intentionally combine, conspire, confederate, and agree with each other to distribute and

possess with intent to distribute 50 kilograms or more of m arijuana, a Schedule I controlled

 substance.

          All in violation of Title 21, United States Code, §§ 841 (a)(l), (b)(l )(C) and 846.

                                           COUNT TWO
                      (Interference with Commerce by Threats or Violence)

          1. At all times material to this count of the Indictment, E.R.B. was engaged in

 interstate commerce, namely, drug trafficking, with the interstate commodities being

 m ar11uana.
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        2. On or about April 17, 2023, in the Western D istrict of Virginia, the defendants,

JOSEPH RICHARD WALKER and GARRETT ISAAC WILLIAMS did unlawfully

obstruct, delay, and affect commerce, as that term is defined in Title 18, United States Code,

§ 1951(b)(3), and the movement of articles and commodities in such commerce, by robbery,

as that term is defined in Title 18 United States Code, § 1951(b)(1), in that defendant JOSE PH

RICHARD WALKER did unlawfully take and obtain personal property consisting of

marijuana from the person and in the presence of E.R.B., against E.R.B.'s will, by means of

actual and threatened force, violence, and fear of injury, immediate and future, to E.R.B.'s

person, and defendant GARRETT ISAAC WILLIAMS aided, abetted, counseled,

commanded, induced, and procured the commission of this offense.

        3. All in violation of Title 18, United States Code,§§ 2 and 1951(a).

                                      COUNT THREE
                (Possess, Brandish, and Discharge a Firearm in Furtherance of a
                        Drug Trafficking Crime and Crime of Violence)

        1.      On or about April 17, 2023, in the Western District of Virginia, the defendant,

JOSEPH RICHARD WALKER, did knowingly possess a firearm, in furtherance of a drug

trafficking crime for which he may be prosecuted in a court of the United States, that is,

conspiracy to distribute and possess with the intent to distribute marijuana, as set forth in

Count One of this Indictment, and a crime of violence for which he may be prosecuted in a

court of the United States, that is, Hobbs Act robbery, in violation of Title 18, United States

Code, § 1951(a), as alleged in Count Two of this Indictment. During this violation of 18

U.S.C. § 924(c), the defendant, JOSEPH RICHARD WALKER, did brandish and discharge

 his firearm.


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       2.     All in violation of Title 18, United States Code,§ 924(c)(1)(A).

                                       COUNT FOU R
              (Conspiracy to Interfere with Commerce by Threats or Violence)

       1. At all times material to this count of the Indictment, E .R.B. was engaged in

interstate commerce, namely, drug trafficking, with the interstate commodities being

mar11uana.

       2. From on or about April 13, 2023, to on or about April 17, 2023, in the Western

District of Virginia, the defendants, JOSEPH RICHARD WALKER and GARRETT

ISAAC WILLIAMS, did knowingly and willfully conspire and agree with each other to

unlawfully obstruct, delay, and affect, and attempt to obstruct, delay, and affect, commerce, as

thatterm is defined in Title 18, United States Code,§ 1951(b)(3), and the movement of articles

and commodities in such commerce, by robbery, as that term is defined in Title 18, United

States Code, § 1951(b) (1), in that the defendants, JOSEPH RICHARD WALKER and

GARRETT ISAAC WILLIAMS, did knowingly and willfully conspire and agree to

unlawfully take and obtain personal property consisting of marijuana from the person and in

the presence ofE.R.B., against E .R.B.'s will, by means of actual and threatened force, violence,

and fear of injury, immediate and future, to E.R.B.'s person.

       3. All in violation of Title 18, United States Code,§ 1951 (a).

                                       COUNT FIVE
                             (Prohibited Possession of a Firearm)

       1. On or about April 17, 2023, in the Western District of Virginia, the defendant,

JOSEPH RICHARD WALKER, knowing that he had been convicted of a crime punishable

by imprisonment for a term exceeding one year, knowingly possessed one or more firearms,


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 to wit: a Sig Sauer 1911 .45 caliber pistol; a Springfield XDM .45 caliber Automatic Colt Pistol;

 a Rock Island Armory VR80 12-gauge shotgun; an American Tactical Omni Hybrid, multi-

 caliber rifle; a Sig Sauer P220 Equinox .45 caliber Automatic Colt Pistol; and a Taurus 45-410

Judge .45 caliber Colt/.410 bore revolver, said firearms having been shipped and transported

in interstate commerce.

        2. All in violation of Ti~e 18, United States Code,§ 922(g)(1).

                                        COUNT SIX
                                     (Malicious Use of Fire)

        1. On or about April 17, 2023, in the Western District of Virginia, the defendant,

JOSEPH RICHARD WALKER, maliciously damaged and destroyed and attempted to

damage and destroy, by means of fire, a vehicle, namely, a white 2021 Toyota Avalon, used in

interstate commerce.

        2. All in violation of Title 18, United States Code,§ 844(i).

                                NOTICE OF FORFEITURE

        1. Upon conviction of one or more of the felony offenses alleged in this Indictment,

the defendants shall forfeit to the United States:

           a. any property constituting, or derived from, any proceeds obtained, directly or
              indirectly, as a result of said offenses, pursuant to 21 U.S.C. § 853(a)(1).

           b. any property used, or intended to be used, in any manner or part, to commit,
              or to facilitate the commission of said offenses, pursuant to 21 U.S.C. §
              853(a)(2) .

           c. any firearms and ammunition involved or used in the commission of said
              offenses, or possessed in violation thereof, pursuant to 18 U.S.C. § 924(d) and
              28 U.S.C. § 2461(c).




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        2. The property to be forfeited to the United States includes but is not limited to the

 following property:

           a. Money Judgment

               An undetermined sum of United States currency and all interest and proceeds
               traceable thereto, in that such sum in aggregate was obtained directly or
               indirectly as a result of said offenses or is traceable to such property.

           b. Firearms and Ammunition

               -    a Sig Sauer 1911 .45 caliber pistol, serial number 54E051277;
               -    a Springfield XDM.45 caliber Automatic Colt Pistol, serial number
                    MG542840;                                                           •
               -    a Rock Island Armory VR80 12-gauge shotgun, serial number R471514;
               -    an American Tactical Omni Hybrid, multi-caliber rifle, serial number
                      S334726;
               -    a Sig Sauer P220 Equinox .45 caliber Automatic Colt Pistol, serial number
                    37B011279;
                    a Taurus 45-410 J udge .45 caliber Colt/ .410 bore revolver, serial number
                    FM549301

       3. If any of the above-described forfeitable property, as a result of any act or omission

of the defendant:

           a. cannot be located upon the exercise of due diligence;
           b. has been transferred or sold to, or deposited with a third person;
           c. has been placed beyond the jurisdiction of the Court;
           d. has been substantially diminished in value; or
           e. has been commingled with other property which cannot be subdivided
              without difficulty;

it is the intent of the United States to seek forfeiture of any other property of the defendants

up to the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).




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A TRUE BILL, this        \\   day of April, 2024.



                                                    s/Grand Jury Foreperson
                                                    GRAND JURY FOREPERSON




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     d States Atto ney




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